 

 

Case 09-13038-KG Doc 1664 Filed 09/29/17 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

In re

Chapter ll UR/G/A/A
CD LIQUIDATION CO., LLC, et al., Case NO_ ()9_13()33 (KG) 1

D€thrS- Substantively Consolidated

Re: Docket No. 1611

)
)
)
)
)
)
)

 

FINAL DECREE CLOSING THE CHAPTER 11 CASES OF
CD LIQUIDATION CO., LLC, CD LIQUIDATION CO., PLUS, LLC, AND
CYNERGY DATA HOLDINGS, INC. AND AN ORDER
TERMINATING THE LIQUIDATION TRUST

Upon the consideration of the motion (the “M”)l, filed by Jesse L. York in his
capacity as the trustee (the “Liguidation Trustee”) of the CD Liquidation Trust (the “Liguidation
M”), for entry of a final decree closing the chapter ll Cases of CD Liquidation Co., LLC, CD
Liquidation Co. Plus, LLC, and Cynergy Data Holdings, lnc. and terminating the Liquidation
Trust, all as more fully set forth in the Motion; and the Court having found that the Court has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found
that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that
venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having
found that the relief requested is in the best interests of the Debtors’ estates, their creditors, and
other parties in interest; and the Court having found that the Liquidation Trustee has provided
appropriate notice of the Motion; and the Court having reviewed the Motion; and the Court
having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before the Court; and after due

cause appearing therefor, it is HEREBY ORDERED THAT:

 

l Capitalized terms not otherwise defined in this Final Decree shall have the meanings ascribed to them in the
Motion.

60579197.2

 

 

 

_4_
Case 09-13038-KG Doc 1664 Filed 09/29/17 Page 2 of 2

l. The Motion is GRANTED as set forth herein.

2. The following chapter ll Cases are hereby closed: CD Liquidation Co., LLC (09-
13038); Cynergy Data Holdings, Inc. (09-13039); and CD Liquidation Co. Plus, LLC (09-

13040)

3. A copy of this Order shall be docketed in each of the Debtors’ chapter 11 Cases as

follows:

Case No. 09-13038 CD Liquidation Co., LLC

Case No. 09-13039 Cynergy Data Holdings, lnc. §

Case No. 09-13040 CD Liquidation Co. Plus, LLC

4. This Order shall serve as a final decree closing the Debtors’ chapter ll Cases.

5 . The Liquidation Trustee is directed to remit to the Office of the U.S. Trustee any
fees that are due and owing.

6. The Liquidation Trust is hereby terminated in accordance with section 9.1 of the
Liquidation Trust Agreement.

7. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014, or otherwise, the terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

8. The Court shall retain jurisdiction as provided in Article XI of the Plan to hear
and determine all matters arising from or related to the implementation, interpretation, and/or

enforcement of this Order.

Dated&j'gmzq_, 2017 _¢K/a_lu.l w

Wi,,mington, Delaware The Hono ble Kevin Gr` ss
United States Bankruptcy` Judge

 

60579197.2

 

